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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED SOVEREIGN AMERICANS,
INC, MICHIGAN FAIR ELECTIONS
INSTITUTE, TIMOTHY MAURO-                      No. 24-12256
VETTER, BRADEN GIACOBAZZI,
PHANI MANTRAVADI, PHILIP                       HON. ROBERT J. WHITE
O’HALLORAN, DONNA
BRANDENBURG, and NICK SOMBERG,                 MAG. ANTHONY P. PATTI

      Petitioners,
v                                                 STATE RESPONDENTS’
                                                   MOTION TO DISMISS
JOCELYN BENSON, in her official
capacity as Secretary of State, BUREAU
OF ELECTIONS, DANA NESSEL, in her
official capacity as Attorney General of
Michigan, and MERRICK GARLAND, in
his official capacity as Attorney General of
the United States,

      Respondents.

Bruce E. Castor, Jr.                           Heather S. Meingast (P55439)
Attorney for Petitioners                       Erik A. Grill (P64713)
1219 Spruce Street                             Assistant Attorneys General
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                                       /
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              STATE RESPONDENTS’ MOTION TO DISMISS

      Defendants Michigan Secretary of State Jocelyn Benson, Michigan Bureau

of Elections, and Michigan Attorney General Dana Nessel move to dismiss

Plaintiffs’ complaint under Federal Rule of Civil Procedure 12(b)(1) and 12(b)(6),

for the following reasons:

      1. Plaintiffs allege that Michigan’s 2022 election failed to meet the

         minimum standards of reliability set by Congress.

      2. Plaintiffs assert that the certification of the 2022 election was based on

         inaccurate results.

      3. Based on their allegations about the 2022 election, Plaintiffs ask that this

         court preemptively intervene in the Michigan’s 2024 election in order to

         prevent state officials from certifying results, citing federal and state law.

      4. Plaintiffs demand an extraordinary form of mandamus that essentially

         amounts to a court takeover of the administration of Michigan’s election

         for the remainder of the year.

      5. Plaintiffs’ claims should be dismissed because this Court may not

         exercise subject-matter jurisdiction.

      6. Plaintiffs’ claims should be dismissed because Plaintiffs fail to establish

         that they have standing to sue.




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      7. Plaintiffs’ claims should be dismissed because Plaintiffs fail to establish

         that their claims are ripe for suit.

      8. Plaintiffs’ claims should be dismissed because Plaintiffs do not establish

         subject-matter jurisdiction under 28 U.S.C. § 1651, 28 U.S.C. § 1361, or

         supplemental jurisdiction.

      9. Plaintiffs’ claims should be dismissed for failure to plead a claim upon

         which relief can be granted.

      10. Plaintiffs’ state law claims should be dismissed because they are barred

         by the Eleventh Amendment.

      11. Plaintiffs’ claims about the 2022 election should be dismissed because

         they are moot.

                 CONCLUSION AND RELIEF REQUESTED

      For these reasons, Defendants Secretary of State Jocelyn Benson, Attorney

General Dana Nessel, and the Michigan Bureau of Elections respectfully request

that this Honorable Court enter an Order granting their motion and dismissing the

Complaint in its entirety and with prejudice, together with any other relief that the

Court determines to be appropriate under the circumstances, including an order of

sanctions or attorney fees.




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                                     Respectfully submitted,

                                     /s/Heather S. Meingast
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                                     Erik A. Grill (P64713)
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                                     517.335.7659
Dated: October 1, 2024


                         CERTIFICATE OF SERVICE
       I hereby certify that on October 1, 2024, I electronically filed the above
document(s) with the Clerk of the Court using the ECF System, which will provide
electronic copies to counsel of record.

                                     /s/Heather S. Meingast
                                     Heather S. Meingast (P55439)
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED SOVEREIGN AMERICANS,
INC, MICHIGAN FAIR ELECTIONS
INSTITUTE, TIMOTHY MAURO-                      No. 24-12256
VETTER, BRADEN GIACOBAZZI,
PHANI MANTRAVADI, PHILIP                       HON. ROBERT J. WHITE
O’HALLORAN, DONNA
BRANDENBURG, and NICK SOMBERG,                 MAG. ANTHONY P. PATTI

      Petitioners,
v                                                 STATE RESPONDENTS’
                                               BRIEF IN SUPPORT OF THEIR
JOCELYN BENSON, in her official                    MOTION TO DISMISS
capacity as Secretary of State, BUREAU
OF ELECTIONS, DANA NESSEL, in her
official capacity as Attorney General of
Michigan, and MERRICK GARLAND, in
his official capacity as Attorney General of
the United States,

      Respondents.

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        STATE RESPONDENTS’ BRIEF IN SUPPORT OF THEIR
                    MOTION TO DISMISS




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Dated: October 1, 2024




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             CONCISE STATEMENT OF ISSUES PRESENTED

      1.    Whether Plaintiffs’ claims should be dismissed because this Court
            may not exercise subject-matter jurisdiction?

      2.    Whether Plaintiffs’ claims should be dismissed because they fail to
            establish that they have standing to sue?

      3.    Whether Plaintiffs’ claims should be dismissed because they fail to
            establish that their claims are ripe for suit?

      4.    Whether Plaintiffs’ claims should be dismissed because Plaintiffs do
            not establish subject-matter jurisdiction under 28 U.S.C. § 1651, 28
            U.S.C. § 1361, or supplemental jurisdiction?

      5.    Whether Plaintiffs’ claims should be dismissed for failure to plead a
            claim upon which relief can be granted?

      6.    Whether Plaintiffs’ claims are barred by the Eleventh Amendment?

      7.    Whether Plaintiffs’ claims about the 2022 election must be dismissed
            because they are moot?




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                                 INTRODUCTION
      This case seeks to prevent certification of the 2024 election. Plaintiffs raise

questions about the 2022 election—nearly two years after it occurred—as grounds

to prevent certification of the yet-unknown results of the 2024 election.

      Like other lawsuits in its vein, this lawsuit’s allegations of election fraud and

irregularity are far-fetched and nonsensical. Plaintiffs assert that defects in

Michigan’s 2022 election render its certification of results that year unreliable.

Based on that assertion, Plaintiffs demand that this Court intervene in the state’s

election administration and manage Michigan’s 2024 election through the end of

the year.

      Plaintiff United Sovereign Americans has filed nearly the same complaint in

at least eight federal district courts throughout the country, asking for similar

relief. 1 This is not a well-pleaded complaint. Fed. R. Civ. P. 8(a). It is a serially

1
 See, e.g., United Sovereign Americans v. Raffensperger, No. 2:24-cv-00104-
LGW-BWC (S.D. Ga. filed Sept. 11, 2024); United Sovereign Americans v.
Griswold, No. 1:24-cv-02499-SBP (D. Colo. filed Sept. 10, 2024); United
Sovereign Americans, Inc. v. North Carolina State Board of Elections, No. 5:24-
cv-500-M-RJ (E.D.N.C. filed Aug. 28, 2024); United Sovereign Americans, Inc. v.
Nelson, No. 2:24-cv-00184-Z (N.D. Tex. filed Aug. 27, 2024); United Sovereign
Americans, Inc. v. Byrd, No. 4:24-cv-00327-MW-MAF (N.D. Fla. filed Aug. 19,
2024); United Sovereign Americans, Inc. v. Ohio, No. 5:24-cv-01359-JRA (N.D.
Ohio filed Aug. 8, 2024); United Sovereign Americans, Inc. v. Pennsylvania, No.
1:24-cv-01003-DFB (M.D. Pa. filed June 18, 2024); United Sovereign Americans,
Inc. v. Maryland State Board of Elections, No. 1:24-cv-00672-SAG (D. Md.
dismissed May 8, 2024), appellant’s brief filed, No. 24-1449 (4th Cir. July 9,
2024).

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pleaded complaint. Its allegations are simply meritless, and Plaintiffs fail to assert

viable legal claims. As a result, their complaint must be dismissed in its entirety.


                             STATEMENT OF FACTS
      Plaintiffs filed the current complaint against Defendants on August 28, 2024.

(ECF No. 1, Compl., PageID.1.) Plaintiffs’ complaint consists of over 200

numbered paragraphs and three exhibits, in which they raise a litany of claimed

“issues” with Michigan’s 2022 election.

      Plaintiffs are registered Michigan voters and a special interest group, United

Sovereign Americans, an organization representing itself as a 501(c)(4) on its

website. (ECF No. 1, Compl., PageID.15-16.) Defendants are Secretary of State

Jocelyn Benson, Michigan Attorney General Dana Nessel, and U.S. Attorney

General Merrick Garland in their official capacities, as well as the Michigan

Bureau of Elections.

      Plaintiffs allege that Michigan’s 2022 election failed to meet the minimum

standards of reliability set by Congress, “rendering the certified election results

that year unreliable.” (ECF No. 1, Compl., PageID.3, ¶ 1.) But Plaintiffs do not to

seek to “challenge the outcome of the 2022 federal election in Michigan.” (Id. at p.

7, ¶ 21.) Instead, they allege that their real challenge is to “the certification by

Michigan election officials of the 2022 election,” seeking to somehow distinguish

the outcome of an election from the certification of that outcome. (Id. at ¶ 22.)


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      Plaintiffs assert that the certification of the 2022 election “was done despite

the integrity of the election being suspect on account of apparent error rates

occurring in that election that exceeded the error rate congress permits before

federal election results cannot be relied upon as accurate….” (Id.)

      Seeking to link their claims about the 2022 election to the 2024 election,

Petitioners allege that they and all Michigan voters will “suffer damages” “[i]f the

2022 election performance is repeated in 2024.” (ECF No. 1, Compl., PageID.4, ¶

2.) As Plaintiffs later explain, that is because, “it is reasonable to believe that

systematic issues which occurred in the 2022 combined Federal and state election

in Michigan will continue uncorrected in 2024, 2026, 2028, etc., absent

intervention by this Court.” (Id., at p. 7, ¶ 23.) That sentence is a concise

representation of Plaintiffs’ entire complaint.

      Plaintiffs assert that Michigan’s voter registration roll was inaccurate in the

2022 election. (ECF No. 1, Compl., PageID.34-36.) Moreover, they allege that

Michigan counted votes from ineligible voters in the 2022 election. (Id. at 36-37.)

They also allege that Michigan’s 2022 election is invalid because its “voter system

error rate” is higher than allowed under federal law. (Id. at p. 40, ¶ 194.)

       Exhibit B of the complaint is a document produced by United Sovereign

Americans and titled “Michigan’s 2022 General Election Validity Scorecard.” It

asserts that there were 57,903,469 “votes altered post certification” in 2022.


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(Plaintiff’s Exhibit B.) It is not clear what this number refers to, as the document

does not explain its findings or methods. 2 Plaintiffs also assert that there were

17,973 more votes than voters in 2022. (ECF No. 1, Compl., PageID.39, ¶ 187.)

       However, these claims come two years too late. The Michigan State Board

of Canvassers was required to canvass results of the 2022 General Election by

November 28, 2022. Mich. Comp. Laws § 168.842. The State Board did so and

certified the results by a 4-0 vote.3 The results of the 2022 election became final at

that time.

       For their relief, Plaintiffs demand an extraordinary form of mandamus that

essentially amounts to court supervision of Michigan’s election for the remainder

of the year. Plaintiffs ask this Court to ensure the following:

    • “that only properly registered voters cast votes,”
    • “that only votes properly cast are counted” and “counted correctly,”
    • “that all voting systems are compliant with all critical infrastructure
      requirements,”
    • “that the authenticity of every ballot countered is proven by the maintenance
      of a comprehensive, unbroken chain of custody from the voter’s hand to the
      final certified result,”
    • “elections…are conducted with the transparency required by the law,” and
    • “clarifying and ordering that the currently accepted Federal definition ‘to
      certify’ is to attest that an official measurement is both accurate and the


2
 In 2022, Michigan had 8.17 million registered voters as of October 2022. See
2022 Voter Registration Totals, available at 2022 Voter Registration Totals
(michigan.gov) (accessed Oct. 1, 2024).
3
 See November 28, 2022, meeting minutes, available at November 28 2022 Signed
BSC Meeting Minutes (michigan.gov) (accessed Oct. 1, 2024).

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      finding of accuracy was reaching[sic] in a fully compliant manner.” (ECF
      No. 1, Compl., PageID.4-5, ¶¶ 6-14.)

      Plaintiffs translate these demands into the language of the law by seeking

mandamus under 28 U.S.C. § 1651 and 28 U.S.C. § 1361. (Id. at pp. 42-54.)

      Plaintiffs’ demands may be divided into four categories. First, Plaintiffs ask

this Court for mandamus to “compel[] Respondents to ministerially correct the

apparent errors in the 2022 elections data, ascertain to the Court’s satisfaction why

the 2022 errors occurred, and prevent the same errors from occurring in 2024.”

(Id. at p. 53.) In short, Plaintiffs seek mandamus to challenge and revise the data

from an election that happened two years ago.

      Second, Plaintiffs seek mandamus to prevent Michigan officials from

certifying the results of the 2024 election. Plaintiffs cite to the Help America Vote

Act (“HAVA”), 52 U.S.C. §§ 20901–21145, and the National Voter Registration

Act (“NVRA”), 52. U.S.C. §§ 20501–20511, to compel this Court to order that

“the State of Michigan may not certify the 2024 General Election unless and until

the relevant Respondents have demonstrated to the Court that the 2024 General

Election and subsequent elections were conducted in conformity with federal and

state law with fewer than the maximum errors permissible.” (Id. at 53.)

      Third, Plaintiffs seek mandamus to enable the federal government to

commandeer the state’s voter registration system. To do that, they demand that

this Court order that Michigan “submit voter registration requests (and any existing

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registrations reasonably in question) to the Department of Homeland Security to

verify the citizenship or immigration status of persons seeking registration to

vote.” (Id.)

      Fourth, Plaintiffs seek general mandamus to enforce all election laws and to

compel state officials to prosecute anyone who disobeys the law. To do that, they

ask for mandamus “requiring all public officials named as Respondents perform

their duties as the law intended . . . [and] prosecut[e] persons or entities for failing

to perform their duties in conformity to the law….” (Id. at 53-54.)


                             STANDARD OF REVIEW

      When considering a 12(b)(1) motion to dismiss for lack of subject-matter

jurisdiction, “the plaintiff has the burden of proving jurisdiction in order to survive

the motion.” RMI Titanium Co. v. Westinghouse Elec. Corp., 78 F.3d 1125, 1134

(6th Cir. 1996) (quoting Rogers v. Stratton Indus., 798 F.2d 913, 915 (6th Cir.

1986)) (emphasis omitted).

      Rule 12(b)(1) motions to dismiss generally come in two varieties: a facial

attack or a factual attack. Ohio Nat'l Life Ins. Co. v. United States, 922 F.2d 320,

325 (6th Cir.1990). A facial attack on a complaint’s subject-matter jurisdiction

questions the sufficiency of the pleading. Id. When reviewing a facial attack, a

district court takes the allegations in the complaint as true. Id. In contrast, a

factual attack questions the truthfulness of the facts in the pleading. When there is


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a factual attack on a complaint’s subject-matter jurisdiction, no presumptive

truthfulness applies to the allegations. Id. For a factual controversy, the district

court must weigh the conflicting evidence and has wide discretion. Id.

      When considering a 12(b)(6) motion to dismiss for failure to state a claim,

although the Court should presume that all well-pleaded material allegations of the

complaint are true, see Total Benefits Planning Agency v. Anthem Blue Cross &

Blue Shield, 552 F.3d 430, 434 (6th Cir. 2008), “a plaintiff’s obligation to provide

the grounds of his entitlement to relief requires more than labels and conclusions,

and a formulaic recitation of the elements of a cause of action will not do.” Bell

Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quotations omitted). Moreover,

the court need not accept as true legal conclusions or unwarranted factual

inferences. Total Benefits, 552 F.3d at 434. To survive dismissal, the plaintiff’s

claim must be plausible. Bell Atl. Corp., 550 U.S. at 555. The inquiry as to

plausibility is “a context-specific task that requires the reviewing court to draw on

its judicial experience and common sense.... [W]here the well-pleaded facts do not

permit the court to infer more than the mere possibility of misconduct, the

complaint has alleged—but it has not ‘show[n]’—‘that the pleader is entitled to

relief.’ ” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (quoting Fed. R. Civ. P.

8(a)(2)).




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      Whether the Eleventh Amendment precludes Plaintiffs’ claim, and whether

Plaintiffs have Article III standing, are issues pertaining to this Court’s subject-

matter jurisdiction properly raised under Rule 12(b)(1). See Lyshe v. Levy, 854

F.3d 855, 857 (6th Cir. 2017).


                                    ARGUMENT

I.    Plaintiffs fail to establish that this Court may exercise subject-matter
      jurisdiction to entertain Plaintiffs’ complaint.

      This Court should grant Defendants’ motion to dismiss because it lacks

subject-matter jurisdiction for four reasons: there is a lack of (1) standing, (2)

ripeness, (3) federal question jurisdiction, and (4) statutorily authorized or

supplemental jurisdiction.

      A.     Plaintiffs fail to establish that they have standing to bring the
             claims in this complaint.

      When a plaintiff lacks standing to pursue a claim, the court lacks subject-

matter jurisdiction. See ASARCO Inc. v. Kadish, 490 U.S. 605, 613 (1989) and

Murray v. U.S. Dep't of Treasury, 681 F.3d 744, 748 (6th Cir. 2012). To have

standing, a plaintiff must establish four elements: (1) an “injury in fact,” (2) “a

causal connection between the injury and the conduct complained of,” and (3) that

it is “‘likely,’ as opposed to merely ‘speculative,’ that the injury will be ‘redressed

by a favorable decision.’” Phillips v. DeWine, 841 F.3d 405, 414 (6th Cir. 2016),

citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992).


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      Standing doctrine exists to preserve the separation of powers. Gill v.

Whitford, 585 U.S. 48, 65 (2018). The Supreme Court has explained that the

injury-in-fact requirement is a mechanism to ensure the “properly limited role” of

“the courts in a democratic society.” Id. Given these limitations, a federal court is

not “a forum for generalized grievances.” Id., citing Lance v. Coffman, 549 U.S.

437, 439 (2007).

      But Plaintiffs ask this Court to ignore separation of powers principles, step

beyond its limited role, and essentially take over Michigan’s election

administration. There are three distinct ways in which Plaintiffs lack standing.

             1.    Plaintiffs fail to sufficiently allege an injury-in-fact.

                   a.     Plaintiffs claims of widespread error are speculative.
      First, Plaintiffs’ allegations about the 2022 election fail to meet the injury-

in-fact requirement. There were not “widespread errors” in Michigan’s 2022

election. Rather, Plaintiffs allegations involving numbers like 57,903,469 “votes

altered” are mere speculations based on adventurous interpretations of election

data. (Plaintiff’s Exhibit B.) And speculative injuries about what happened in the

past and what will happen in the future do not give rise to injuries-in-fact. Lujan v.

Defs. of Wildlife, 504 U.S. 555, 560–61 (1992).

      But further, assuming without conceding that there were errors in the 2022

election, the supposed “errors” alleged would still not amount to an injury-in-fact.



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As Plaintiffs explain in their complaint, “it is reasonable to believe that systematic

issues which occurred in the 2022 combined Federal and state election in Michigan

will continue uncorrected in 2024, 2026, 2028, etc. absent intervention by this

Court.” (ECF No. 1, Compl., PageID.7, ¶ 23.) As such, Plaintiffs essentially

acknowledge that their claims are premised upon speculation.

      But it is not enough for it to be “reasonable” that injury will occur. The

Supreme Court has explained that “it must be ‘likely,’ as opposed to merely

‘speculative,’ that the injury will be ‘redressed by a favorable decision.’” Lujan,

504 U.S. at 561. Plaintiffs have simply failed to establish that injury is likely to

occur without this Court’s intervention.

                    b.     Plaintiffs demand that the government act in
                           conformity with the law.

      Second, Plaintiffs’ requested relief amounts to asking the government to

obey and enforce the law, which is not a basis for standing. Plaintiffs rely

generally on the state’s obligations to enforce HAVA, 52 U.S.C. §§ 20901–21145;

the NVRA, 52. U.S.C. §§ 20501–20511; and provisions of the Michigan Election

Law. (ECF No. 1, Compl., PageID.53-54.) But courts have held that “an asserted

right to have the Government act in accordance with law is not sufficient” to

demonstrate standing. Whitmore v. Arkansas, 495 U.S. 149, 160 (1990). Here,

Plaintiffs’ request for mandamus “requiring all public officials named as

Respondents perform their duties as the law intended,” (ECF No. 1, Compl.,


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PageID.53-54), is the precise kind of demand that the Supreme Court found

insufficient for standing in Whitmore. 495 U.S. at 160.

                      c.   Plaintiffs allege only generalized grievances.

      Third, Plaintiffs’ allegations amount to generalized grievances. (ECF No. 1,

Compl., PageID.16-17, 34-35; Plaintiff’s Exhibit B.) They assert that Michigan

committed errors in voter registration, ballot counting, and other areas in 2022.

(Id.) But the Supreme Court has “repeatedly refused to recognize a generalized

grievance against allegedly illegal governmental conduct as sufficient for standing

to invoke the federal judicial power.” United States v. Hays, 515 U.S. 737, 743

(1995), citing Valley Forge Christian College, 454 U.S. 464 (1982); Schlesinger v.

Reservists Comm. to Stop the War, 418 U.S. 208 (1974); United States v.

Richardson, 418 U.S. 166 (1974); Ex parte Lévitt, 302 U.S. 633 (1937) (per

curiam). Plaintiffs’ allegations about the 2022 election—even if they were true

(which they are not)—amount to merely generalized grievances applicable to all

qualified voters in the state of Michigan. These generalized grievances are not a

basis for standing.

      Indeed, in another lawsuit filed against Michigan officials after the 2020

election, another court held that “generalized grievances about the conduct of an

election cannot be the basis for a federal lawsuit…The claimed injury cannot be

generalized, affecting everyone in the same way.” O'Rourke v. Dominion Voting



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Sys. Inc., 552 F. Supp. 3d 1168, 1180 (D. Colo. 2021), modified on

reconsideration, No. 20-CV-03747-NRN, 2021 WL 5548129 (D. Colo. Oct. 5,

2021). The same court explained that plaintiffs asserting “generalized, non-

individual, complaints about how the election was conducted” were dismissed,

including “cases where the plaintiffs purported to be registered voters.” Id., at

1181.

        The wave of implausible 2020 election lawsuits, most of which were

dismissed for lack of standing, id., is eerily similar to the present dispute. This

lawsuit should be dismissed for the same reasons.

        B.    Plaintiffs lack subject-matter jurisdiction because they fail to
              establish that their claims are ripe for suit.
        As to their claims about the 2024 election, Plaintiffs fail to state claims that

are ripe for review, and this Court should dismiss those claims for that reason.

Norton v. Ashcroft, 298 F.3d 547, 554 (6th Cir. 2002) (“A court lacks jurisdiction

over the subject matter if the claim is not yet ripe for judicial review.”). To decide

whether a dispute has ripened into a judicially reviewable action, courts ask two

questions: “(1) is the dispute ‘fit’ for a court decision in the sense that it arises in ‘a

concrete factual context’ and involves ‘dispute that is likely to come to pass’? and

(2) what are the risks to the claimant if the federal courts stay their hand?” Miles

Christi Religious Ord. v. Twp. of Northville, 629 F.3d 533, 537 (6th Cir. 2010).




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      Plaintiffs themselves admit that their injuries in the 2024 election have not

yet occurred but instead that “it is reasonable to believe” that they will occur later

in the year. (ECF No. 1, Compl., PageID.7, ¶ 23.) Such allegations about the 2024

election are not ripe because they do not arise in “a concrete factual context.”

Miles Christi Religious Ord., 629 F.3d at 537. The context of Plaintiffs’

allegations is plainly not factual—they are only Plaintiffs’ subjective expectations

without any basis in fact. Second, even if the allegations were factual, there would

be no “risk to the claimant if the federal court stays their hand” because there is no

reason the Plaintiffs would be unable to file suit if events later occur that would

give rise to an actual violation of law. Id.

      Plaintiffs’ claims are plainly premature and are unripe for adjudication by

this Court.

      C.      Plaintiffs lack subject-matter jurisdiction because they fail to
              raise a federal question.
      Plaintiffs have also failed to plead a cognizable federal question. By

congressional grant, this Court possesses subject-matter jurisdiction over “all civil

actions arising under the Constitution, laws, or treaties of the Unites States.” 28

U.S.C. § 1331. Here, while Plaintiffs cite broadly to federal statutes like HAVA

and the NVRA, the sections cited in the complaint simply do not provide legal

causes of action for the Plaintiffs. The absence of a federal cause of action leaves

this Court without jurisdiction to entertain a suit under 28 U.S.C. § 1331.


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             1.     The National Voter Registration Act does not provide
                    causes of action to Plaintiffs.

      First, Plaintiffs cite the NVRA extensively. See, e.g., ECF No. 1, Compl.,

PageID.22-24. This federal statute standardizes the states’ administration of

registered voter rolls for federal elections and establishes voter registration

procedures for federal elections. 52 U.S.C. § 20503(a). The law also establishes

requirements with respect to the administration of voter registration, such as

permitting the removal of an individual from a voter registration list only by way

of that person’s request, death, disability due to conviction or incapacity, or change

in residence. Id. at § 20507(a)(4). Last, NVRA requires states to maintain public

disclosure of voter registration activities. Id. at § 20507(i)(1).

      Congress entrusted NVRA’s enforcement to the Attorney General or, if

certain requirements are met, to private individuals. 52 U.S.C. § 20510. But the

private right of action does not give individuals the right to go straight to federal

court. NVRA creates a notice requirement that must be met before private

individuals have a cause of action. 52 U.S.C. § 20510(b)(1).

      According to NVRA, “[a] person who is aggrieved by a violation of this

chapter may provide written notice of the violation to the chief election official of

the State involved.” 52 U.S.C. § 20510(b)(1). Then, “[if] the violation is not

corrected within 90 days after receipt of a notice under paragraph (1), or within 20

days after receipt of the notice if the violation occurred within 120 days before the


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date of an election for Federal office, the aggrieved person may bring a civil action

in an appropriate district court for declaratory or injunctive relief with respect to

the violation.” 52 U.S.C. § 20510(b)(2). As one court has explained, the “purpose

of the notice requirement is to afford the State an opportunity to cure the

deficiency and/or remedy the alleged violation before court intervention becomes

necessary.” Ohio A. Phillip Randolph Inst. v. Husted, 350 F. Supp. 3d 662, 672

(S.D. Ohio 2018).

      Here, Plaintiffs do not even allege that they provided a written notice of the

alleged violations to Secretary Benson, Michigan’s chief election official, and no

such notice is included as an exhibit to the complaint. Thus, Plaintiffs have not

met the notice requirement and do not have a cause of action against Defendants.

Accordingly, this court should dismiss all claims under NVRA.

             2.     The Help America Vote Act does not provide causes of
                    action to Plaintiffs.
      Second, Plaintiffs cite the HAVA extensively. See, e.g., ECF No. 1, Compl.,

PageID.24-27. HAVA imposes national standards on the “voting system[s] used in

an election for Federal office,” including standards for error rates. 52 U.S.C. §

21081(a). HAVA accomplishes enforcement of its requirements by two methods.

First, the law authorizes the United States’ Attorney General to bring civil actions

to seek declaratory and injunctive relief “as may be necessary to carry out” the

voting system requirements under sections 21081, 21082, and 21083 of the law.


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52 U.S.C. § 21111. Second, the law requires states receiving HAVA funding to

“establish and maintain State-based administrative complaint procedures,” for the

adjudication and disposition of complaints relating to HAVA’s requirements. 52

U.S.C. § 21112(a)(1)&(2)(B).

      But HAVA does not provide a private cause of action against election

officials who administer voting systems pursuant to HAVA’s requirements. When

asked to acknowledge private causes of action under HAVA, federal courts

throughout the nation have consistently held that HAVA creates no private cause

of action. See, e.g., Bellitto v. Snipes, 935 F.3d 1192, 1202 (11th Cir. 2019);

American Civil Rights Union, 872 F.3d 175, 181 (3d Cir. 2017); Sandusky County

Democratic Party v. Blackwell, 387 F.3d 565, 572 (6th Cir. 2004); Georgia Voter

Alliance v. Fulton County, 499 F. Supp. 3d 1250, 1256 (N.D. Ga. 2020); Texas

Voters Alliance v. Dallas County, 495 F. Supp. 3d 441, 458-59 (E.D. Tex. 2020).

Accordingly, this court should dismiss all claims under HAVA.

      In sum, because Plaintiffs have failed to plead federal causes of action under

both NVRA and HAVA, they have failed to raise actionable federal questions.

      D.     Plaintiffs cannot establish subject-matter jurisdiction under 28
             U.S.C. § 1651, 28 U.S.C. § 1361, or 28 U.S.C. § 1331.

      As an apparent last resort, Plaintiffs also assert three additional sources of

subject-matter jurisdiction: 28 U.S.C § 1651, 28 U.S.C. § 1361, and this Court’s

supplemental jurisdiction under 28 U.S.C. § 1331. (ECF No. 1, Compl.,


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PageID.15, ¶¶ 72-74.) But none of these sources of authority grant subject-matter

jurisdiction over the parties in this dispute.

      First, Plaintiffs cite § 1651, the “All Writs” Act, which states: “(a)The

Supreme Court and all courts established by Act of Congress may issue all writs

necessary or appropriate in aid of their respective jurisdictions and agreeable to the

usages and principles of law.” But § 1651 does not create a private right of action,

as is evident from its text. Instead, the Supreme Court has interpreted the text to

mean that “a court's power to issue any form of relief—extraordinary or

otherwise—is contingent on that court's subject-matter jurisdiction over the case or

controversy.” United States v. Denedo, 556 U.S. 904, 911 (2009).

      Thus, the § 1651 is not an independent source of subject-matter jurisdiction,

and merely provides that courts have power to issue relief in cases over which it

already has jurisdiction. Otherwise, the statute would quickly have become a

catch-all for any claims implicating federal law and would defeat the purpose of

Article III’s case or controversy requirement. Where there is no subject-matter

jurisdiction, this Court cannot exercise the All Writs Act under § 1651. Denedo,

556 U.S. at 911. Moreover, the Sixth Circuit has interpreted the All Writs Act to

provide limited jurisdiction only to cases in which a court has “special statutory

authority” or “as ancillary to and in aid of jurisdiction otherwise vested in it.”




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Haggard v. State of Tenn., 421 F.2d 1384, 1386 (6th Cir. 1970). As neither

condition has been met here, this Court cannot issue any writ under that Act.

      Second, Plaintiffs assert that this Court has jurisdiction under 28 U.S.C §

1361, the “Mandamus Act,” which states: “The district courts shall have original

jurisdiction of any action in the nature of mandamus to compel an officer or

employee of the United States or any agency thereof to perform a duty owed to the

plaintiff.” But, as is evident from its text, the Mandamus Act grants federal courts

original jurisdiction over federal officials and federal agencies. But the State

Defendants here are not federal officials. Therefore, this Court cannot exercise

jurisdiction over them under the Mandamus Act.

      Last, Plaintiffs claim that this Court has supplemental jurisdiction under 28

U.S.C. § 1331, arguing that “the case presents substantial questions of federal law,

and the state claims are so related to the federal claims that they form part of the

same case or controversy.” (ECF No. 1, Compl., PageID.15, ¶ 74) But, as

previously explained in regard to HAVA and NVRA, Plaintiffs have failed to plead

a federal question in the first place, so there is no connection between federal and

state claims. Therefore, there can be no supplemental jurisdiction over any state

law claims.




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II.   Plaintiffs fail to state a claim upon which relief can be granted.

      Alternatively, even if this Court had subject-matter jurisdiction to entertain

Plaintiffs’ compliant, this case should still be dismissed for failure to state a claim

upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). Of course, as noted

above, Plaintiffs have failed to establish any legal cause of action for their claims,

and so the claims fail as a matter of law on that basis alone. But moreover, the

Plaintiffs have failed to state a claim that is legally plausible on its face.

      To survive a motion to dismiss, Plaintiffs’ complaint must contain facts

sufficient to “state a claim to relief that is plausible on its face.” Bell Atl. Corp.,

550 U.S. at 570. A claim is facially plausible when a plaintiff “pleads factual

content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Ashcroft, 556 U.S. at 678.

      Plaintiffs’ complaint fails to meet this standard. While Plaintiffs’ Complaint

states many factual allegations, none of them are facially plausible. In the

Complaint’s Exhibit B, a document titled “Michigan’s 2022 General Election

Validity Scorecard,” Plaintiffs present most of the supposed factual bases for their

claims. This one-page document lists 38 separate numerical values, each

supposedly representing a measure of something that went wrong in Michigan’s

2022 election. (Plaintiff’s Exhibit B.)




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       But Plaintiffs assert several implausible claims with unrealistic numbers,

including that there were 57,903,469 “votes altered post certification,” 47,805

“illegal addresses,” and 369,071 “ballots in error” in Michigan’s 2022 election.

(Id.) Plaintiffs claim these figures are “extracted” from “an official data source of

the Michigan Voter database” obtained through FOIA requests. (Id.) But

Plaintiffs do not identify the actual information that was used to arrive at these

numbers, what the “original data source” was, or even which entity answered the

FOIA request. Worse yet, this document fails to explain its methods, define its

terms, or show how numbers so large can come from a state with fewer than ten

million registered voters. There is simply no plausible basis for any of Plaintiffs’

claims. In other words, the Plaintiffs have simply failed to demonstrate a claim

that is plausible.

       The Complaint’s far-fetched statistics on their face lack any basis in sound

methods or facts. Thus, it is unlikely that this Court can “draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Ashcroft, 556

U.S. at 678. Accordingly, this Court should dismiss the entire complaint for failure

to state a claim for which relief may be granted under Fed. R. Civ. Proc. 12(b)(6).

III.   Plaintiffs’ claims are barred by the Eleventh Amendment.

       Having previously established that Plaintiffs failed to plead any actionable

federal questions, Plaintiffs’ sole remaining claim against the State Defendants is



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based entirely on alleged violations for the Michigan Election Law. (ECF No. 1,

PageID.27-29.)

      In their state law claim, Plaintiffs fail to explain exactly what state law has

been violated. (Id.) Most of that section of the Complaint merely recites the text

of the Michigan Election Law, and only one paragraph offers a claim. (Id.) In

Paragraph 143, Plaintiffs state in conclusory manner that “Michigan has

implemented a system that does not guarantee accuracy or compliance with legal

mandates requiring the state to ensure that only eligible voters may register and

vote.” (Id. at p. 29, ¶ 143.) It is entirely unclear what the State Defendants have

done that violates any section of Michigan Election Law.

      Regardless, the Court cannot consider this claim because State Defendants

are immune from state-law claims in federal court.

      The Eleventh Amendment bars state-law claims against a state and its

agencies unless the state has waived its immunity, consented to be sued, or

Congress has abrogated that immunity, none of which exceptions apply here. Will

v. Mich. Dep't of State Police, 491 U.S. 58, 66 (1989); Seminole Tribe of Fla. v.

Fla., 517 U.S. 44, 58, (1996); Pennhurst State Sch. & Hosp. v. Halderman, 465

U.S. 89, 100 (1984). This immunity extends to state and state agency officers and

employees who are sued in their official capacities because “[s]uits against state




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officials in their official capacity [are] treated as suits against the State.” Hafer v.

Melo, 502 U.S. 21, 25 (1991).

      Eleventh Amendment immunity is premised on two “presupposition[s]”:

“first, that each State is a sovereign entity in our federal system; and second, that

‘[i]t is inherent in the nature of sovereignty not to be amenable to the suit of an

individual without its consent.’” Seminole Tribe, 517 U.S. at 54 (quoting Hans v.

Louisiana, 134 U.S. 1, 13 (1890)).

      To be sure, state officials’ Eleventh Amendment immunity in federal court is

limited by the doctrine of Ex Parte Young, which applies “when a federal court

commands a state official to do nothing more than from refrain from violating

federal law.” See Va. Office for Prot. & Advoc. v. Stewart, 563 U.S. 247, 248

(2011) (emphasis added). Ex Parte Young’s exception to Eleventh Amendment

immunity is driven by “the need to promote the supremacy of federal law.”

Pennhurst, 465 U.S. at 105 (emphasis added). That need is “wholly absent,

however, when a plaintiff fails to state a claim about federal law and, beyond that,

alleges that a state official has violated state law.” Id. at 106. Indeed, “it is

difficult to think of a greater intrusion on state sovereignty than when a federal

court instructs state officials on how to conform their conduct to state law.” Id. As

a result, Ex Parte Young is “inapplicable in a suit against state officials on the basis

of state law.” Id.


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      By pursuing this quintessential state-law claim, Plaintiffs put themselves

squarely within the application of the Eleventh Amendment. For these reasons,

any state law claims against the State Defendants must be dismissed.

IV.   Plaintiffs’ claims about the 2022 election must be dismissed because
      they are moot.

      Lastly, Plaintiffs’ complaint must also be dismissed because its central

allegations about the 2022 election are moot.

      Under Article III of the Constitution, federal courts may adjudicate only

actual, ongoing cases or controversies. Kentucky v. U.S. ex rel. Hagel, 759 F.3d

588, 595 (6th Cir. 2014) (quoting Lewis v. Cont’l Bank Corp., 494 U.S. 472, 477

(1990)). Federal courts have a continuing duty to ensure that they adjudicate only

genuine disputes between adverse parties, where the relief requested would have a

real impact on the legal interests of those parties. See Church of Scientology v.

United States, 506 U.S. 9, 12 (1992); McPherson v. Mich. High School Athletic

Ass'n, 119 F.3d 453, 458 (6th Cir. 1997) (en banc).

      If “the issues presented are no longer live or the parties lack a legally

cognizable interest in the outcome,” then the case is moot and the court has no

jurisdiction. Los Angeles County v. Davis, 440 U.S. 625, 631 (1979). A “live”

controversy is one that “persists in ‘definite and concrete’ form even after

intervening events have made some change in the parties’ circumstances.” Mosely




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v. Hairson, 920 F.2d 409, 414 (6th Cir. 1990) (citing DeFunis v. Odegaard, 416

U.S. 312, 317 (1974)).

      Here, Plaintiffs’ Complaint challenges “the verification by Michigan

election officials of the 2022 election” and seeks mandamus to revise election data.

(ECF No. 1, Compl., PageID.7, 53.) That relief is beyond the ability of this Court

to grant. As stated previously, the Michigan Board of State Canvassers was

required to canvass results of the 2022 General Election by November 28, 2022.

Mich. Comp. Laws § 168.842. It has been nearly two years since that election was

certified, and there is no live controversy surrounding that election or its results.

      As the Eleventh Circuit Court of Appeals observed in a post-election lawsuit

brought to specifically overturn the results of the 2020 presidential election:

      “We cannot turn back the clock and create a world in which” the 2020
      election results are not certified. Fleming v. Gutierrez, 785 F.3d 442,
      445 (10th Cir. 2015). And it is not possible for us to delay
      certification nor meaningful to order a new recount when the results
      are already final and certified.
Wood v. Raffensperger, 981 F.3d 1307, 1317 (11th Cir., 2020).

      The named Defendants, to the extent they are charged with election duties,

have already performed the duties they have under the law with respect to the

administration and certification of the 2022 general election. There is no

mechanism available to de-certify Michigan’s election results or to adjust the data

reporting the results.



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      The premise on which all of Plaintiffs’ allegations hinge is therefore moot.

Like the 2020 lawsuits, Plaintiffs ask this Court to turn back the clock. But that

simply cannot be done. Accordingly, this Court should grant Defendants’ motion

to dismiss.

                 CONCLUSION AND RELIEF REQUESTED

      For these reasons, Defendants Secretary of State Jocelyn Benson, Attorney

General Dana Nessel, and the Michigan Bureau of Elections respectfully request

that this Honorable Court grant their motion to dismissing the Complaint in its

entirety and with prejudice, together with any other relief that the Court determines

to be appropriate under the circumstances.

                                       Respectfully submitted,

                                       /s/Heather S. Meingast
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                        CERTIFICATE OF SERVICE

       I hereby certify that on October 1, 2024, I electronically filed the above
document(s) with the Clerk of the Court using the ECF System, which will provide
electronic copies to counsel of record.

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